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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



HACHETTE BOOK GROUP, INC.,
HARPERCOLLINS PUBLISHERS LLC,
JOHN WILEY & SONS, INC., and
PENGUIN RANDOM HOUSE LLC               Case No. 1:20-CV-04160-JGK

                       Plaintiffs,

     v.

INTERNET ARCHIVE and DOES 1 through
5, inclusive

                       Defendants.


 DEFENDANT INTERNET ARCHIVE’S MEMORANDUM OF LAW IN OPPOSITION
         TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



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       Defendant Internet Archive respectfully submits this Memorandum of Law in Opposition

to Plaintiffs’ Motion for Summary Judgment.

I.     PRELIMINARY STATEMENT

       Plaintiffs’ motion is thick with accusation and rhetoric, but thin on actual evidence. That

may be because the Internet Archive’s CDL program seeks to do something major publishers

can’t imagine: Without seeking payment or profit, improve the value of physical books for

libraries and their patrons and, in the process, help ensure that libraries can continue to serve

their mission in the 21st century. Plaintiffs assume that such a project must harm their efforts to

license ebooks—but they do not show it. Indeed, their conflation of licensed ebooks with

scanned copies of physical books exposes the real goal of this lawsuit. Plaintiffs would like to

force libraries and their patrons into a world in which books can only be accessed, never owned,

and in which availability is subject to the rightsholders’ whim.

       Working with peer libraries around the country, the Internet Archive supports a different

model that is more consistent with traditional library practice and better serves the purposes of

copyright. Its CDL program has created an extraordinary and growing corpus of books for 21st

century readers, fostering the growth of knowledge and culture. And digital lending of physical

books costs rightsholders no more or less than, for example, lending books via a bookmobile or

interlibrary loan. In each case, the books the library lends are bought and paid for, ensuring that

rightsholders receive all of the financial benefits to which they are entitled.

       Ebook licensing can be an excellent additional option for libraries, which is why libraries

spend millions in rental fees on behalf of their patrons. But it should not be the only option.

Copyright law was never intended to be a means to permanently lock up culture or force libraries

and readers to depend on the licensing choices of a few publishing behemoths. For the reasons




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set forth below, and in the Internet Archive’s Motion for Summary Judgment, the Court should

deny Plaintiffs’ Motion.

II.      ADDITIONAL FACTS

         While the Internet Archive did not begin digitally lending books until 2011, providing

universal access to books has been a part of its mission for decades. Add’l Statement of Material

Facts in Supp. of Def.’s Opp’n to Pls.’ Mot. for Summ. J. (“ASMF”) ¶ 154. Soon after its

founding in 1996, the Internet Archive began hosting other digital content—including digital

texts—in addition to its snapshots of the World Wide Web. Id. ¶ 155. At that time, the Internet

Archive focused on hosting public domain books. Id. Hundreds of years of literature could fit

easily in storage of ever smaller size, and the Internet Archive made a point of demonstrating this

in 2002, when it drove its Bookmobile (“1,000,000 Books Inside (soon)”) across the country,

allowing readers of all ages to access, download, and print books in the public domain. Id.

¶ 156.

         The Internet Archive began scanning print books in 2004, when it helped form the Open

Content Alliance. Id. ¶ 157. This consortium of libraries, universities, and companies—

including the University of California, the University of Toronto, the Smithsonian Institution

Libraries, and the National Archives of the United Kingdom, as well as Yahoo, Adobe, HP Labs,

and Microsoft—worked together to preserve and provide online access to digitized books. Id. A

few years later, the Internet Archive launched Open Library, which aimed to become the world’s

largest catalog of books and to provide free access to public domain books the Internet Archive

had scanned. Id. ¶ 158.

         The first decade and a half of improvements to technologies used for scanning print

books and displaying their digitized text laid the foundation for the Internet Archive—along with

the dozens of other libraries (from the Boston Public Library to the San Francisco Public


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Library) with which it partnered—to begin lending books online to patrons, for free, for short

periods of time. Id. ¶ 159.

        Today, the Internet Archive makes more than 3.6 million books available for digital

lending, and millions more public-domain books available for permanent download. Id. ¶ 160.

This lawsuit concerns 127 books among those millions. Id. ¶ 161. Plaintiffs claim those 127

books are selected from 33,000 books published by Plaintiffs that are available for borrowing

from the Internet Archive and are also available in digital form, such as via OverDrive.

Plaintiffs’ Rule 56.1 Statement of Undisputed Material Facts (“PSMF”) ¶¶ 240–41. While

Plaintiffs challenge the digital lending of books that are also available via OverDrive to patrons

without print disabilities, they do not challenge any of the Internet Archive’s related activities:

lending books to those with print disabilities, making short excerpts available in response to links

from Wikipedia, lending out-of-print books, or lending in-print books that are not available via

OverDrive.

III.    ARGUMENT

        We begin by discussing why the facts and case law do not support Plaintiffs’ arguments

that the first and fourth fair-use factors weigh against a finding that the Internet Archive’s CDL

implementation is fair use. After briefly discussing the application of those factors to the

National Emergency Library, we respond to arguments raised in amicus briefs supporting

Plaintiffs.

        A.     The Internet Archive’s CDL implementation is a fair use that serves
               copyright’s essential purpose.

               1.      Plaintiffs misstate law and facts relevant to Factor One.

        Plaintiffs’ Factor One analysis attempts to portray the Internet Archive’s digital lending

program as a commercial enterprise that merely replicates ebook licensing. That portrayal



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cannot be squared with binding precedent or the undisputed facts.

                        a.     The Internet Archive’s CDL implementation is entirely
                               noncommercial and publicly beneficial.

       Plaintiffs’ missteps begin with a manufactured theory of commerciality that relies on the

wrong legal standard. The standard that binds this Court is the one set forth in American

Geophysical Union v. Texaco Inc., 60 F.3d 913 (2d Cir. 1994). In that case, the court held that

“[t]he commercial/nonprofit dichotomy concerns the unfairness that arises when a secondary

user makes unauthorized use of copyrighted material to capture significant revenues as a direct

consequence of copying the original work.” Id. at 922 (emphasis added). Further, “courts are

more willing to find a secondary use fair when it produces a value that benefits the broader

public interest.” Id.

       Moreover, the inquiry is not whether the defendant organization itself has commercial

aspects (though the Internet Archive does not) but whether the use in question is commercially

exploitative. In Texaco, for example, the fact that a researcher worked for a commercial entity

did not, by itself, render his copying of journal articles commercial. Instead, the court

considered whether the use in question led to commercial gain for his employer.

       Here, Plaintiffs offer no evidence that either the Internet Archive or its digital lending

program is a revenue-generating exercise. The Internet Archive is a not-for-profit organization

that lends books, for free, to patrons, for a limited time, at its own expense. Those expenses

include equipment, personnel, and, especially, acquisition and storage costs for the physical

books that are being lent digitally; the Internet Archive has spent millions of dollars on its digital

lending program. ASMF ¶ 162.

       At the same time, the Internet Archive’s CDL implementation “benefits the broader

public interest,” Texaco at 922; see IA Opening Br. 7–8. CDL helps libraries carry out their



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traditional lending activities, consistent with hundreds of years of public policy. Copyright

Scholars Amicus Br. 9, ECF No. 141. CDL supports authors by providing them with a research

tool and ensuring that their works reach a broad audience—whether or not their publishers

choose to invest in keeping their works available. Authors Alliance Amicus Br. 7, 13, ECF No.

144. As amici Intellectual Property Law Professors note, a work accessed through the Internet

Archive “is materially more valuable to readers than the original that they can’t get, that costs

too much, or that they don’t know about . . . .” IP Law Professors Amicus Br. 4 (citation

omitted), ECF No. 143. Further, “[t]his ability to equalize and share resources is a particularly

important function in times of extreme social isolation, such as the global COVID pandemic.”

Id.; see also Blanch v. Koons, 467 F.3d 244, 254 (2d Cir. 2006) (“Notwithstanding the fact that

artists are sometimes paid and museums sometimes earn money, the public exhibition of art is

widely and we think properly considered to ‘have value that benefits the broader public

interest.’”) (citation omitted).

        That someone else engages in commercial activity that has aspects in common with a

given practice does not make that practice more commercial. For example, in Sony, the

existence of a market for renting prerecorded videotapes, as opposed to recording movies

broadcast on TV, did not render the home videotaping at issue in that case commercial. Sony

Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 449-51 (1984); id. at 484 (Blackmun,

J., dissenting).

        Lacking controlling precedent for their legal theory, Plaintiffs look to cases that arise

outside of this Circuit. The first, American Buddha, is an Arizona case that is easily

distinguishable on the facts. It involved a fringe site apparently devoted primarily to publishing

the personal musings of its founders, Tara and Charles Carreon. See




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https://web.archive.org/web/20140329000447/http:/www.american-buddha.com/ (archiving the

website at issue). While the site purported to provide an “online library” as well, that “library”

was nothing like the Internet Archive. Instead, it made digital copies available without

restriction. The site had a “donate” button, but, if that were enough to render a use commercial,

then almost every use by a nonprofit organization would be considered commercial. Penguin

Grp. (USA) Inc. v. Am. Buddha, No. CV-13-02075-TUC-JGZ, 2015 WL 11170727, at *2, *4 (D.

Az. May 11, 2015). As amici IP Law Professors note, that would not serve the purposes of

copyright. IP Law Professors Amicus Br. 2–8; see generally Am. Soc’y for Testing & Materials

(“ASTM”) v. Public.Resource.Org, Inc., 896 F.3d 437, 449 (D.C. Cir. 2018) (use that served

nonprofit’s mission and was also mentioned in fundraising for that mission “hardly rises to the

level” of a “commercial” use). Indeed, many public libraries have a “donate” button on pages

where they lend books, including the New York Public Library, 1 the Queens Public Library, 2

and the Brooklyn Public Library. 3 Those buttons do not turn their library lending into a

commercial activity.

         The second, Holy Transfiguration, is a First Circuit Court of Appeals decision that

addressed a wide variety of copyright issues raised by a church official’s publication of religious

texts on a website, also without restriction. Soc’y of Holy Transfiguration Monastery, Inc. v.

Gregory, 689 F.3d 29 (1st Cir. 2012). That case contradicts the Texaco standard by collapsing


1
    https://browse.nypl.org/iii/encore/record/C__Rb21302139 (“Give” link at top).

2
    https://www.queenslibrary.org/book/The-lion,-the-witch-and-the-wardrobe/991270 (“Donate”

button at top).

3
    https://www.bklynlibrary.org/item?b=11247559 (“Donate Now” link at bottom).



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the commercial/noncommercial inquiry, asking merely whether the defendant had “benefitted” in

any way from the activity in question. Id. at 61. On that theory, virtually every use would be

commercial, since every fair user has some reason to want to engage in the fair use. For

example, the home taping in Sony would be commercial because the user “benefitted” by being

able to watch the movie at a time different than it was broadcast, and the use in HathiTrust

would be commercial because the libraries “benefitted” by being able to fulfill their mission of

preserving books and making them available to the print disabled. That circularity is why the

Second Circuit Court of Appeals applies a different standard, properly focusing on whether the

defendant “capture[d] significant revenues as a direct consequence of copying the original

work.” Texaco at 921.

                               i.     Receiving $5,561.41 in affiliate link revenue does not
                                      make the Internet Archive’s lending program
                                      commercial.

       Plaintiffs also paint an inaccurate picture of what the Internet Archive does and how it

and its partners operate.

       First, Plaintiffs misrepresent the nature of the relationship between the Internet Archive

and Better World Books, which is far from the commercial partnership that Plaintiffs make it out

to be. As an initial matter, the Internet Archive does not “effectively own” Better World Books.

Contra Publishers’ Opening Br. 27. The sole shareholder of Better World Books is Better World

Libraries, a nonprofit organization that itself has no owner or shareholders. See Internet

Archive’s Resp. to Pls.’ Rule 56.1 Statement of Undisputed Materials Facts submitted herewith

(“IA Resp.”) ¶ 333. The Internet Archive has no control over Better World Books’ business and

does not profit from it. See id.

       Through selective use of facts, Plaintiffs also create the misleading impression that

certain aspects of the relationship between the Internet Archive and Better World Books are


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unique to that partnership. For example, Plaintiffs discuss the books the Internet Archive 4

obtains through Better World Books as if this were a special benefit that only the Internet

Archive enjoys. See Publishers’ Opening Br. 13, 27. Plaintiffs fail to mention, however, that the

Internet Archive is just one beneficiary of a broader Better World Books program that provides

books to a range of nonprofit organizations, including Books for Africa, school systems, prison

ministries, and battered women’s shelters. ASMF ¶ 163.

         Nor is there anything special, much less commercial, about the Internet Archive’s

inclusion of affiliate links to Better World Books on its website. In this case, the revenue that the

Internet Archive received when a book was purchased from Better World Books through these

affiliate links—just $5,561.41 from the inception of the program through February 10, 2021.

ASMF ¶ 164—is tiny in comparison to the millions of dollars the Internet Archive has spent on

developing and operating its digital lending program. Id. ¶ 162.

         In reality, the Internet Archive and Better World Books are distinct and complementary

parts of the library ecosystem. Whereas the Internet Archive is a nonprofit public charity that

directly provides free library services to the public, see generally IA Opening Br. 3–8, Better



4
    A nonprofit that works closely with the Internet Archive, Open Library of Richmond, holds

legal title to and maintains physical possession of many of the print books in its physical archive

facilities. Defendant’s Rule 56.1 Statement of Material Facts ¶ 19. For simplicity, regarding

ownership of print books, we use the term “Internet Archive” to refer collectively to the Internet

Archive and Open Library of Richmond. It is undisputed that the Internet Archive or Open

Library of Richmond owns at least one lawfully made copy of each of the Works in Suit. Id. ¶

20.



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World Books is a for-profit business that has adapted its business model to support libraries and

other literacy programs. Public and academic libraries across the country actively support Better

World Books’ model by providing books they have culled from their collections. ASMF ¶ 165.

When one of those books is sold, a portion of the proceeds goes to the library. Id. In this way,

Better World Books helps libraries recoup some of their investment in their collections while

extending the lives of books that may otherwise have been thrown away. If Better World Books

does not believe it can sell a book, it donates it if possible, or, as a last resort, recycles it. Id.

¶ 166. Given the nature of Better World Books’ business model, working closely with the

Internet Archive serves the missions of both organizations—to expand access to books and to

support all forms of library lending—not the Internet Archive’s bottom line.

                                 ii.     Receiving money from other libraries for scanning and
                                         storing out-of-copyright books does not make the
                                         Internet Archive’s lending of in-copyright books
                                         commercial.

        Second, the Plaintiffs attempt to piece together a case for commerciality by combining

unrelated parts of Internet Archive’s charitable work. Separately from the digital lending

program at issue in this lawsuit, the Internet Archive scans and digitally stores books owned by

other libraries as a service to those libraries. But the books scanned for other libraries are, by

and large, books that are no longer subject to copyright, and are not made available via lending.

It is undisputed that Internet Archive (not other libraries who use Internet Archive’s scanning

services) owns the books at issue here. Defendant’s Rule 56.1 Statement of Material Facts

(“DSMF”) ¶¶ 18, 20. Put another way, these separate scanning services (and the methods by

which Internet Archive recoups its costs for them) are simply not at issue here.




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                               iii.    Facilitating digital lending of non-circulating copies
                                       owned and stored by other libraries does not affect the
                                       analysis.

       Third, the Open Libraries project does not change the analysis. The Internet Archive is

proud to be able to work with other libraries to improve access to their books. Plaintiffs’

accusation that the project allows patrons of a given library to access more copies than their local

library owns is a red herring; libraries have a long history of resource sharing, such as through

interlibrary loan programs, without causing any harm to rightsholders. ASMF ¶ 167. The

Internet Archive trusts librarians to comply with CDL’s basic own-to-loan requirement, and does

not need to peer over the shoulders of the librarians at Georgetown or Johns Hopkins or the

Boston Public Library. Tellingly, in the many months of discovery in this case, Plaintiffs never

bothered to ask any of the Internet Archive’s partner libraries about how they have handled the

Works in Suit, which is one reason they have no actual evidence of any mishandling (nor is

Internet Archive aware of any). ASMF ¶ 168.

                       b.      CDL is transformative.

       Plaintiffs also misconstrue the standard for transformativeness. The transformativeness

inquiry does not turn on whether the secondary user adds criticism or commentary. Swatch Grp.

Mgmt. Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73, 84 (2d Cir. 2014). Transformativeness may

also be accomplished by expanding the utility of the work where, as here, “it utilizes technology

to achieve the transformative purpose of improving the efficiency of delivering content without

unreasonably encroaching on the commercial entitlements of the rights holder.” Fox News

Network, LLC v. TVEyes, Inc., 883 F.3d 169, 177 (2d Cir. 2018).

       Sony is directly on point. Like the home viewers in that case, Internet Archive patrons

are simply accessing books libraries have purchased in the way that is most efficient for the

library and its patrons. If those patrons traveled to a library to check out the physical book, or a


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library mailed a physical book, no one would blink an eye. CDL does not involve

“systematically republishing,” as the Publishers suggest, Publishers’ Opening Br. 23, but rather

systematically delivering a book on a one-to-one basis to the one patron who has borrowed that

book, subject to strict controls. Indeed, any encroachment on commercial entitlements is even

less here than in Sony, where an unlimited number of viewers could choose to time-shift and

share the recordings with any number of friends and family, for months or years after the original

recording was created.

       ASTM v. Public.Resource.Org offers additional guidance. In that case, a non-profit

posted scanned copies of standards that had been incorporated by reference into law in

furtherance of its mission to make the law freely available online. The standards development

organizations (“SDOs”) that claimed copyright in those standards argued, inter alia, that Public

Resource’s use was not transformative because the SDOs also posted some of the standards on

their own websites, albeit subject to a variety of contractual conditions, and the standards were

also available in some libraries. On appeal, the D.C. Circuit Court of Appeals held that

“distributing copies of the law for purposes of facilitating public access” could be transformative

where such information was “essential to comprehending one’s legal duties.” 896 F.3d at 450.

This analysis reflects Sony’s approach: Because the public is subject to the law, the public is

entitled to access it, and making that access more efficient is a transformative use. Here,

similarly, the one patron who has borrowed a particular library book is entitled to access it, and

making that access more efficient is a transformative use.

       The Ninth Circuit Court of Appeals applied a different understanding of

transformativeness in Disney Enterprises, Inc. v. VidAngel, Inc., 869 F.3d 848 (9th Cir. 2017), on

which Plaintiffs rely. In that case, which addressed a commercial video streaming service, the




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court did not apply the understanding of transformativeness (in particular the understanding of

Sony as a case involving transformative use) applied in TVEyes and ReDigi, both of which were

decided after VidAngel. And, of course, the commercial video streaming service at issue in

VidAngel was not a noncommercial service bringing traditional library lending of print

collections to the digital age. Digital lending, unlike commercial video streaming, facilitates the

use of books in a host of ways that serve the purposes of copyright, such as helping to correct

misinformation and helping librarians and others curate, and make available online, collections

of banned books. IA Opening Br. 8. It helps ensure that the public’s ability to access books is

not subject to the whims of the publishers. Relatedly, it helps ensure that the first sale doctrine

can continue to serve its vital public interest purpose in the digital age, in keeping with an

unbroken history of protections for library lending. Copyright Scholars Amicus Br. 6–10, ECF

No. 141; see also H.R. Rep. No. 94-1476, at 79 (1976) (“A library that has acquired ownership

of a copy is entitled to lend it under any conditions it chooses to impose.”).

       Nor does the discussion of transformativeness in Authors Guild v. Google, Inc., 804 F.3d

202, 216-18 (2d Cir. 2015) (“Google Books”), answer the transformativeness question here.

That case also predates TVEyes and ReDigi, so it is not surprising that it does not apply the view

of Sony later developed by the Second Circuit Court of Appeals in those decisions. And the

court would have had no occasion to apply that view of Sony in any event, because Google

Books did not involve more efficient delivery of content to one entitled to receive it, but instead

dissemination of snippets of content to an unlimited number of members of the public

concurrently. Google Books at 209-10.




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                        c.      Transformativeness is not required for the first factor to favor
                                the Internet Archive, particularly given the noncommercial
                                nature of its digital lending and the public benefits it produces.

        As discussed above, digital lending is a transformative use that improves the efficiency of

the delivery of content to library patrons entitled to access the book they borrowed. But whether

or not digital lending is a transformative use, it is a fair use. Not all fair uses are transformative.

Campbell v. Acuff-Rose Music, 510 U.S. 569, 579 (1994); see also Swatch Grp. Mgmt. Servs.

Ltd., 756 F.3d at 84–85; Blanch, 467 F.3d at 252 n.3. In Swatch, the Second Circuit Court of

Appeals concluded that while Bloomberg’s distribution of a recorded earnings call was

“arguably transformative,” the first factor favored fair use “regardless of how transformative” the

use was. 756 F.3d at 85. Among the considerations in Bloomberg’s favor was the use’s news

reporting function—a “public purpose” named in the preamble to § 107. Id. at 82. Here, the

Internet Archive supports multiple such public purposes, including research and education. IA

Opening Br. 8, 18–19; DSMF ¶¶ 1–6.

        Cambridge University Press v. Patton also supports the conclusion that

transformativeness is not required for the first factor to favor a particular use. 769 F.3d 1232

(11th Cir. 2014). In Cambridge University Press, the infringement claim was predicated on a

university policy that allowed professors to make scanned versions of copyrighted materials

available to students to access and copy. Id. at 1239. On appeal, the court both agreed with the

trial judge’s determination that the use was not transformative and affirmed its finding that the

first factor nonetheless favored fair use. Id. at 1267. In reaching this conclusion, the appellate

court relied on the noncommercial nature of the use and its provision of “a broader public

benefit—furthering the education of students at a public university.” Id.; see also L.A. News

Serv. v. CBS Broad., Inc., 305 F.3d 924, 938–39 (9th Cir. 2002), amended on denial of reh’g,

313 F.3d 1093 (9th Cir. 2002) (because news reporting is a “favored purpose” under § 107, first


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factor favored fair use even where minimally transformative at best and commercially

motivated); Bell v. Worthington City Sch. Dist., No. 2:18-CV-961, 2020 WL 2905803, at *6–*7

(S.D. Ohio June 2, 2020) (finding first factor favored fair use where use was educational but not

transformative).

       Here, as in Cambridge University Press, the noncommercial nature of the Internet

Archive’s digital lending program, its support for favored statutory purposes, and the public

benefits it produces all tilt the first factor heavily towards fair use. “There is no doubt that a

finding that copying was not commercial in nature tips the scales in favor of fair use.” Google

LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1204 (2021). Indeed, as amici Intellectual Property

Law Professors explain, fair use is intended, in large part, to encourage socially beneficial

noncommercial uses. IP Law Professors Amicus Br. 2–3. The Internet Archive’s digital lending

does precisely that. See, e.g., IA Opening Br. 7–8, 18–19; Crews & Smith Amicus Br. 10–11,

13, ECF No. 145.

       Moreover, digital lending advances the fundamental purposes of copyright by directly

facilitating the creation of new works of authorship. See Authors Alliance Amicus Br. 13–15,

ECF No. 144; IA Opening Br. 18–19; see also Campbell, 510 U.S. at 575 (explaining fair use’s

role in fulfillment of copyright’s purpose). Where a use so squarely advances the policy goals of

fair use doctrine and copyright as a whole—without subverting the rightsholders legitimate

financial expectations, Section III.A.3.b., infra—the first factor favors fair use, whether or not

the use is transformative.

               2.      The second and third factors do not favor Plaintiffs.

       As discussed in the Internet Archive’s Motion for Summary Judgment, the second and

third factors also weigh against Plaintiffs’ motion. IA Opening Br. 21–24.




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               3.      Plaintiffs misstate law and facts relevant to Factor Four.

        Plaintiffs’ fourth-factor analysis rests on the assumption that because the public benefits

from digital lending, Plaintiffs must be harmed by it. That view is inconsistent with the factual

record and with the decisions of the Second Circuit Court of Appeals.

                       a.      There is no market for licenses to lend books a library already
                               owns.

        Plaintiffs argue that Internet Archive harms the market for or value of their books

because the Internet Archive does not pay the “customary price” for the activities it undertakes.

But as discussed in Internet Archive’s Opening Brief, IA Opening Br. 29–30, the customary

price payable to a publisher to lend a book a library has already purchased is zero. Accordingly,

there is no “traditional, reasonable, or likely to be developed” market. Texaco, 60 F.3d at 929–

30.

        There is, of course, also a market to license access to ebooks when a library does not

already own a book. But as Dr. Jørgensen’s analysis shows, the Internet Archive’s activities do

not affect that market at all. DSMF ¶¶ 140–41.

        Plaintiffs assert that “the ‘vice of circularity’ only arises in cases where the secondary use

is transformative and thus justifies the non-payment of a fee.” Publishers’ Opening Br. 33. As

discussed above, the use at issue here is transformative. Section III.A.1.b., supra. But the bigger

problem with Plaintiffs’ argument is that the very case in which that analysis arose, Texaco,

addressed non-transformative copying, and the court still examined whether the claimed

licensing market was “traditional, reasonable, or likely to be developed.” 60 F.3d at 929–30. If

Plaintiffs were right, the court would not have needed to undertake that analysis.

        Texaco also contradicts Plaintiffs’ suggestion that this Court must assume a willing buyer

and a willing seller for the license. Again, in Texaco, the court did not assume that a market with



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a willing buyer and a willing seller existed; instead, it inquired whether such a market was

“traditional, reasonable, or likely to be developed.” On Plaintiffs’ view, that inquiry could never

matter, because the court would always assume that such a market exists. Indeed, Plaintiffs’

view does not rely on fair use case law at all; rather, they draw from copyright damages

analyses, which assume as their starting point that the defendant is liable for infringement. The

fair use analysis, by contrast, determines whether the defendant is liable for infringement.

Oracle v. SAP did not address fair use at all, 765 F.3d 1081 (9th Cir. 2014), and Davis v. The

Gap, Inc. applied the willing buyer / willing seller approach only with respect to damages, 246

F.3d 152, 167 (2d Cir. 2001).

                       b.       Loaning books to library patrons one at a time is consistent
                                with economic expectations at the time the publisher sells the
                                book.

       Digital lending allows more efficient access to a particular copy of a book than would be

possible without digital technology. Specifically, it allows one library patron at a time to borrow

a book without the need to travel to a library or wait for a book to come in the mail; that

efficiency is one of the reasons digital lending is favored under the first factor. IA Opening Br.

17. To the extent Plaintiffs experience economic harm from digital lending, it is exactly the

same source of economic harm they would experience from physical lending: the possibility that

some consumers take books out from the library instead of buying them.

       Copyright law does not grant publishers the right to limit libraries only to inefficient

lending methods, in hopes that those inefficiencies will lead frustrated library patrons to buy

their own copies. The fundamental limit, which digital lending does not disturb, is that libraries

can only lend as many copies as they own. That patrons have to go to the library is not a

fundamental limit; after all, copyright law forbids neither inter-library loans nor bookmobiles.

That library staff needs to physically handle books is not a fundamental limit; computerized


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sorting systems have long since reduced that need. That it takes time to physically move a book

from one patron to another is not a fundamental limit; if a library sends books via overnight

FedEx rather than handing or mailing them to a patron, that does not work a cognizable harm to

publishers, though it makes library lending more efficient. 5 That many libraries choose to only

loan books to people in one specific geographical area is not a fundamental limit; the Brooklyn

Public Library offers access to its entire digital collection to young adults anywhere in the United

States in response to book bans at some local libraries, 6 and the Queens Public Library offers

library cards to anyone in the United States for an annual fee. 7 The publishers are well aware of

all of these longstanding library practices. That the Internet Archive makes its collection

available to every person in every community in America makes Internet Archive more, not less,

of a library.

         To be sure, publishers would prefer—and might profit from—a world in which they had

complete control over library lending and could charge libraries for each additional circulation of

a book the library already bought. But their preferences do not tell us anything about the scope

of their rights under copyright law.



5
    See, e.g., https://www.nypl.org/books-by-mail (offering book lending by mail to homebound

patrons); https://www.nysoclib.org/sites/default/files/pdf/BooksByMailPolicy.pdf (offering book

lending by mail to all patrons).

6
    https://www.bklynlibrary.org/books-unbanned

7
    https://www.queenslibrary.org/about-us/news-media/blog/2094 (“An eCard only requires a

valid email address. It is free if you live, work, go to school or own property in New York State,

while it is $50 if you are out of state.”).



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       Nor do publishers have a right to limit libraries to lending a book the library owns only a

particular number of times. Books do not come with an expiration date, and libraries regularly

repair and re-bind books that are worn, rather than buying new copies from publishers. ASMF

¶¶ 167, 169. Rebinding books so that they last longer is not copyright infringement. Doan v.

Am. Book Co., 105 F. 772, 777 (7th Cir. 1901).

       Publishers might indeed make more money if they could require libraries to re-buy books

after they had been borrowed 26 times. Publishers’ Opening Br. 9. But the law does not give

publishers that right. Libraries own the books they have purchased, and they have the right to

lend them to one patron at a time—even the 27th time.

       The existence of a product (OverDrive) that permits libraries to rent access to some books

on behalf of their patrons does not affect the analysis. Libraries may offer access to books via

OverDrive instead of or in addition to lending books they have purchased, and that is a perfectly

reasonable choice for libraries to make. But digitally lending books the library bought does not

displace OverDrive revenue; they are different things, and the publishers, having chosen to sell

books to libraries, should not be able to double-dip.

                       c.     Interference with the publishers’ attempts to segment the
                              market is not cognizable harm under the fourth factor.

       Plaintiffs complain that their “digital strategy” depends on their ability to dictate the

terms on which libraries can loan books. Publishers’ Opening Br. 32. This is not a new

complaint: As discussed in library scholars’ amicus brief, publishers and booksellers have

wanted more control over library lending for centuries. Crews & Smith Amicus Br. 13–14. But

the law does not permit publishers to dictate the terms on which libraries can loan books to

patrons, and it never has. Indeed, the very same arguments would apply to physical lending;




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publishers would benefit equally from control of both. But despite decades of pleading, neither

Congress nor the courts have given publishers control of either. See IA Opening Br. 30.

        The Supreme Court rejected a very similar argument in Sony. There, movie studios

argued that allowing noncommercial copying would upset their carefully calibrated licensing

market. Sony, 464 U.S. at 483 n.35 (Blackmun, J., dissenting) (“A VTR owner who has taped a

favorite movie for repeated viewing will be less likely to rent or buy a tape containing the same

movie, watch a televised rerun, or pay to see the movie at a theater.”). But the person who taped

a movie being broadcast in their area was “entitled to receive” that movie. Capitol Recs., LLC v.

ReDigi Inc., 910 F.3d 649, 661 (2d Cir. 2018). The movie studios could gain revenue by renting

prerecorded videocassettes to people who were not already entitled to access the material (such

as people who had not received and recorded a licensed broadcast of it). But the fact that they

could not also gain revenue by renting prerecorded videocassettes to people who were already

entitled to access the material did not give rise to a cognizable harm. The right to control

noncommercial home taping was not within the copyright holder’s monopoly there, just as the

right to control noncommercial library lending is not within the copyright holder’s monopoly

here.

                        d.      Google Books does not aid Plaintiffs.

        Plaintiffs fare no better under the fourth-factor analysis in the Google Books case. There,

the question was whether the display of small portions of books to an unlimited number of

concurrent internet users, by a commercial entity that did not own a copy of the book in question,

would substitute for sales of books to those internet users. 804 F.3d at 207, 223–24. The Court

of Appeals held that while some market substitution was possible, it would not be sufficiently

substantial to tilt the fourth factor against fair use. Id. at 224.




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       Crucially, in Google Books the alleged harm had to be measured against a baseline of no

alternative access: Google did not own copies of the books and could not make them available

physically as an alternative to the digital access it provided. Under those circumstances, “[i]f

Plaintiffs’ claim were based on Google’s converting their books into a digitized form and making

that digitized version accessible to the public, their claim would be strong.” Id. at 225. Here, by

contrast, the relevant baseline is physical library lending: Internet Archive and its partners own

copies of the books and could loan them to the very same patrons physically as an alternative to

the digital access it provides. With or without CDL, those particular physical copies could be

read by one patron at a time; CDL simply makes that lending more efficient. And that increase

in efficiency did not lead to any reduction in book sales, or to any reduction in borrowing from

libraries that did not own the book and therefore had to license access via OverDrive. DSMF ¶¶

140–45.

       That digital lending may substitute for undisputedly noninfringing physical lending of the

same books cannot weigh against fair use. In Sony, for example, the copying at issue was a

substitute for an alternative that did not involve any copying—namely, watching the movies at

the time they were broadcast, rather than at a later time. That is why, as the ReDigi court

recognized, it was important that the people watching the recorded movies in Sony were already

“entitled to receive” those movies by a means everyone agreed was noninfringing. ReDigi, 910

F.3d at 661.

       And, at any rate, as discussed in Internet Archive’s Opening Brief, any effect—if one

existed—would not decrease the amount of money paid to publishers by libraries; it would at

most reallocate spending away from older books and toward newer books. IA Opening Br. 33.




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For this reason, any market effect would not impact incentives to create or publish new books,

and would not be cognizable under the fourth factor. Id. 33–34.

       Further, even a showing of some market effect would not weigh against a finding of fair

use. “[T]he possibility, or even the probability or certainty, of some loss of sales does not suffice

to make the copy an effectively competing substitute that would tilt the weighty fourth factor in

favor of the rights holder in the original.” Google Books, 804 F.3d at 224. Instead, “[t]here must

be a meaningful or significant effect ‘upon the potential market for or value of the copyrighted

work.’” Id. (quoting 17 U.S.C. sec. 107(4)). As the evidence in the record shows, there has been

no such effect and, even if many more libraries began practicing CDL, no meaningful or

significant effect on the market would occur. IA Opening Br. 26–28; DSMF ¶¶ 119–22, 136–39,

140–45.

                       e.      The fourth factor looks to what would happen if the
                               defendant’s particular practice, with all of its attendant costs
                               and limitations, became widespread.

       The practice at issue here is the Internet Archive’s digital lending program, with all its

attendant costs and limitations. The fourth factor looks to whether market harm would be likely

if that program became widespread.

       As a practical matter, that is extremely unlikely to occur, given the owned-to-loaned

limitation: for every concurrent digital loan, there must be a non-circulating physical copy.

Thus, in order to expand the number of concurrent loans even for books that have already been

scanned, Internet Archive or partner libraries would need to purchase additional copies from

publishers and would need to store those copies. Neither of those is free nor infinitely scalable:

while Internet Archive and partner libraries work hard to be efficient, buying and storing books

costs money. See, e.g., Paul Courant et al., On the Cost of Keeping a Book, in The Idea of Order

(Council on Library & Info. Res., Ed. 2010), at https://www.clir.org/wp-


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content/uploads/sites/6/pub147.pdf (analyzing the long-term cost of book storage in various

scenarios). Those costs are on top of the costs of scanning and maintaining digital storage of the

controlled digital copy used to facilitate lending.

       In this respect, CDL is easily distinguishable from the activities at issue in cases finding

market harm. In American Buddha, for example, the defendant did not own a lawfully made

copy for each concurrent user and did not impose any technological restrictions that prevented

further copying. In Cambridge, 769 F.3d at 1239, the university imposed none of the controls

applied in the Internet Archive’s implementation of CDL. In ReDigi, the defendant did not

prevent the seller of the file from retaining his own copy even after he sold it (unlike Internet

Archive’s technology at issue here, which undisputedly prevents patrons from retaining a copy of

a book when their loan period expires). 910 F.3d at 654. Indeed, the ReDigi court recognized

that while the technology then before the court permitted the creation of unauthorized copies,

“other technology may exist or be developed that could lawfully effectuate a digital first sale.”

Id. at 659. Without that technology, on those facts, the court found market harm.

       In fact, as Dr. Jørgensen’s analysis showed, even if Internet Archive’s lending scaled up a

great deal, there would be no effect on publishers’ markets. DSMF ¶¶ 140–45. Given that the

Internet Archive has proffered detailed evidence disproving cognizable market harm, such harm

cannot be assumed; it “must be demonstrated.” Sony, 464 U.S. at 451. Plaintiffs—who have just

had two of the most profitable years in the history of the publishing industry—make no such

demonstration. Instead, they rely on the speculation that “it is not difficult to envision” a future

in which there was market harm. Publishers’ Opening Br. 38. This does not suffice.

       Publishers claim to have “decades of experience” and to be applying “basic economic

common sense.” Publishers’ Opening Br. 39. The Internet Archive also has decades of




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experience lending books (and has seen no market harm thus far), and is also applying basic

economic common sense (that digitally lending a particular library book to one patron at a time,

has the same economic consequences as physically lending the same book to one patron at a

time). The conflict between those positions is resolved by the only empirical evidence before the

Court: that Internet Archive’s lending—at its current scale or at a much larger scale—has caused

and would cause no effect on the market for or value of Plaintiffs’ works.

        B.       The National Emergency Library was also fair use.

        The NEL does not undermine the fair use analysis; if anything, it strengthens it. The

Internet Archive does not apologize for temporarily filling a desperate public need for books

when libraries and schools shut their doors. And as explained in the Internet Archive’s Opening

Brief, the evidence shows that the NEL did not harm the market for books given the number of

physical copies that were taken out of circulation, virtually overnight. IA Opening Br. 26–28,

35.

        C.       Arguments raised by Plaintiffs’ amici do not affect the outcome in this case.

                 1.     Many amici raise concerns related to other factual situations not
                        presented by the facts here, and fair use takes into account the
                        particular factual situation before the Court.

        Several of Plaintiffs’ amici express concerns about the effect of CDL with respect to

works that are notably different from the Works in Suit, and practices notably different from the

Internet Archive’s:

             •   The Authors Guild expresses concern about the effect of CDL on out-of-print

                 books, Authors Guild Amicus Br. 15–19, ECF No. 165, but all of the Works in

                 Suit are in-print, PSMF ¶ 40.




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     •   The Authors Guild expresses concern regarding third parties who do not practice

         CDL, such as Library Genesis, id. 11–14, but the Court’s ruling here will turn on

         only the particular practices described in the record. Oracle, 141 S. Ct. at 1197–

         98. The Authors Guild argues that “any entity calling itself a library” would

         benefit from a decision in favor of the Internet Archive. Authors Guild Amicus

         Br. 11. What makes the Internet Archive a library is not the use of the word

         “library;” the Internet Archive is a library because it owns an organized

         permanent collection of materials that it makes available to its patrons for

         reference or borrowing. Indeed, in another context, this Court recognized that the

         Internet Archive “is expressly permitted by Congress” to engage in activities set

         forth in 17 U.S.C. § 108(f)(3), TVEyes, 124 F. Supp. 3d at 332 n.4, and the statute

         expressly permits only “a library or archives” to engage in those activities. 17

         U.S.C. § 108(f)(3). See also, e.g., Mojave Desert Holdings, LLC v. Crocs, Inc.,

         844 F. App’x 343, 346 n.2 (Fed. Cir. 2021) (referring to Internet Archive as “a

         nonprofit library in San Francisco, California”); Bacon v. Avis Budget Grp., Inc.,

         357 F. Supp. 3d 401, 431 n.23 (D.N.J. 2018), aff’d, 959 F.3d 590 (3d Cir. 2020)

         (“The Internet Archive is a nonprofit online digital library.”); Healthcare Advocs.,

         Inc. v. Harding, Earley, Follmer & Frailey, 497 F. Supp. 2d 627, 631 (E.D. Pa.

         2007) (“the Internet Archive is a nonprofit organization that has created an online

         library . . . . Its digital database is equivalent to a paper library, . . . .”).




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             •   The Copyright Alliance 8 expresses concern regarding owners of copyright in

                 works other than books, such as movies or television programs. Copyright

                 Alliance Amicus Br. 14–16, ECF No. 162. Again, because the fair use analysis is

                 fact-specific, the result here may or may not carry over to cases involving those

                 other types of works, depending on the particular facts of those future cases.

             •   The Authors Guild expresses concern about what would happen in a situation

                 where an author granted print publication rights separately from electronic

                 publication rights. Authors Guild Amicus Br. 6–7. Here, Plaintiffs hold both the

                 print and electronic publication rights. PSMF ¶ 33. And at any rate, while a

                 copyright holder may separately assign parts of their bundle of rights, that

                 divisibility of rights does not enlarge the bundle or permit control of acts that

                 would otherwise be fair use.

             •   The Authors Guild expresses concern that lending by the Internet Archive to

                 patrons in countries where libraries pay to lend books they own could reduce the

                 fees paid by libraries in those countries. Authors Guild Amicus Br. 20–21. But

                 international lending is nothing new; indeed, the International Federation of

                 Library Associations (“IFLA”) first published its principles for international




8
    The Association of American Publishers, which instigated this lawsuit, has a seat on the board

of the Copyright Alliance. https://copyrightalliance.org/about/boards/. One of the law firms

representing Plaintiffs in this action sits on the Copyright Alliance Legal Advisory Board. Id.



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                 interlibrary loan in 1954. 9 Libraries in the United States have never paid for the

                 right to lend books they own, whether to patrons in the United States or abroad.

                 And, indeed, as noted in Internet Archive’s Opening Brief, IFLA supports CDL.

                 DSMF ¶ 57.

         Thus, because the fair use analysis turns on the facts before the Court, arguments by

amici about what might happen in other cases presenting other facts do not affect the outcome

here with respect to the Works in Suit.

                 2.     Section 108 does not limit fair use.

         Both the Copyright Alliance and Plaintiffs’ scholar amici argue that the limited scope of

Section 108 of the Copyright Act affects Internet Archive’s fair use arguments under Section 107

of the Copyright Act. Copyright Alliance Amicus Br. 18–21; Plaintiffs’ Scholars Amicus Br. 9–

10, ECF No. 163. This argument is directly contrary to the express text of Section 108, which

states that “Nothing in this section . . . in any way affects the right of fair use as provided by

section 107[.]” 17 U.S.C. § 108(f)(4). Citing this statutory provision, the Second Circuit Court

of Appeals rejected this very argument. Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 94 n.4

(2d Cir. 2014) (“[W]e do not construe § 108 as foreclosing our analysis of the Libraries’

activities under fair use, and we proceed with that analysis.”).




9
    International Federation of Library Associations, International Resource Sharing and

Document Delivery: Principles and Guidelines for Procedure, https://www.ifla.org/wp-

content/uploads/2019/05/assets/docdel/documents/international-lending-en.pdf (“First agreed by

IFLA 1954”).



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               3.      This case does not present a question for Congress.

       Both the Copyright Alliance and the scholars writing in support of Plaintiff argue that this

case presents a question which should be answered by Congress, not by judicial application of

Section 107. Copyright Alliance Amicus Br. 21–22; Plaintiffs’ Scholars Amicus Br. 14–16.

       The Supreme Court disagrees. In its most recent fair use case, the Court recognized “that

application of a copyright doctrine such as fair use has long proved a cooperative effort of

Legislatures and courts, and that Congress, in [the Court’s] view, intended that it so

continue.” Oracle, 141 S. Ct. at 1208. As the Court recognized in its prior fair use case,

“Congress meant § 107 ‘to restate the present judicial doctrine of fair use, not to change, narrow,

or enlarge it in any way’ and intended that courts continue the common-law tradition of fair use

adjudication.” Campbell, 510 U.S. at 577 (quoting H.R. Rep. No. 94-1476, at 66 (1976)).

       Moreover, that argument could apply to any fair use case. All fair use cases could be

characterized as an “effort to dispense with the legislative process and enact a self-declared

exception from the requirements of the Copyright Act.” Plaintiffs’ Scholars Amicus Br. 14. One

could just as easily characterize Sony as an effort to enact a self-declared exception for

noncommercial videotaping, or Campbell as an effort to enact a self-declared exception for

parody, or Oracle as an effort to enact a self-declared exception for computer interfaces. But

Congress decided to cede the development of fair use to the courts, expressing its intention that

“[b]eyond a very broad statutory explanation of what fair use is and some of the criteria

applicable to it, the courts must be free to adapt the doctrine to particular situations on a case-by-

case basis.” H.R. Rep. No. 94-1476, at 66 (1976).




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                 4.      This case does not turn on international law.

                         a.      International law does not affect the scope of fair use in the
                                 United States.

          Amici International Rightsholders 10 argue that international treaties should influence the

Court’s analysis here. These amici have raised this same argument in multiple appellate fair use

cases. See, e.g., Br. of Amici Curiae “Copyright Thought Leaders” in Support of Petitioners,

Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183 (2021) (No. 18-956), 2020 WL 1154739; Br. of

Amici Curiae Int’l Rightsholders in Support of Appellants, Authors Guild v. Google, Inc., 804

F.3d 202 (2d Cir. 2015) (No. 13-4829), 2014 WL 1509693. The Courts of Appeals and the

Supreme Court have always rejected it sub silentio; no court has even bothered to mention it in

its opinion. See generally, e.g., Oracle, 141 S. Ct. 1183; Google Books, 804 F.3d 202.

          That is for good reason: when it comes to copyright, what matters is Congressional

enactments, not the text of the treaties themselves, because the treaties themselves are “not self-

executing.” Berne Convention Implementation Act of 1988, Pub. L. No. 100-568, § 2(1).

Indeed, the very treaty provision on which amici rely expressly says that, “It shall be a matter for

legislation in the countries of the Union to permit the reproduction of such works in certain

special cases, provided that such reproduction does not conflict with a normal exploitation of the

work and does not unreasonably prejudice the legitimate interests of the author.” Berne


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     Plaintiff Wiley has a seat on the board of amicus International Association of Scientific,

Technical, and Medical Publishers. https://www.stm-assoc.org/about-stm/stm-board/ Plaintiff

Penguin Random House has a seat on the Executive Committee of the International Publishers

Association. https://www.internationalpublishers.org/about-ipa/governance/executive-

committee-members



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Convention for the Protection of Literary and Artistic Works, Sept. 9, 1886, as last revised at

Paris July 24, 1971, as amended, Sept. 28, 1979, https://wipolex.wipo.int/en/text/283693, Art.

9(2) (emphasis added). Other countries may have decided to require courts to directly apply that

“three-step test” to the facts of particular cases. International Rightsholders Amicus Br. 15–16,

ECF No. 154. Their choice tells us nothing about what the treaty requires, or what the United

States Congress has decided to do with respect to fair use. See generally Brief for Amicus

Curiae Law Professors & Scholars in Support of Appellee, Authors Guild v. Google, Inc., 2014

WL 3556331 (July 10, 2014) (addressing the same argument made by the same amici in another

fair use case).

        Indeed there is no reason to believe that the United States intended to hobble the

development of fair use in the digital environment. To the contrary, the United States diplomatic

delegation underscored during treaty drafting that “it was essential that the Treaties permit the

application of the evolving doctrine of ‘fair use,’ which was recognized in the laws of the United

States of America, and which was also applicable in the digital environment.” WIPO Diplomatic

Conference on Certain Copyright and Neighboring Rights Questions, Geneva, Dec. 2-20, 1996,

Summary Minutes, Main Committee I, ¶ 488, WIPO Doc. CRNR/DC/102, pdf. p. 70 (Aug. 26,

1997), at https://www.wipo.int/edocs/mdocs/diplconf/en/crnr_dc/crnr_dc_102.pdf.

                       b.     To the extent the Court looks to international law, other
                              governments have found CDL lawful and consistent with
                              treaty obligations.

        To the extent international law matters, it points very firmly in favor of permitting CDL.

For example, the highest court of the European Union has approved the practice. In Vereniging

Openbare Bibliotheken v Stichting Leenrecht, Case C-174/15 (Nov. 10, 2016) (“VOB”),

https://eur-lex.europa.eu/legal-content/en/TXT/?uri=CELEX:62015CJ0174, Decl. of Joseph C.

Gratz in Supp. of Opp’n to Pls.’ Mot. for Summ. J. submitted herewith (“Gratz Opp’n Decl.”)


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Ex. 7, the Court of Justice of the European Union (“CJEU”) addressed the question whether

CDL was consistent with European laws and treaties regarding lending. The court decided that it

was, holding that CDL had “essentially similar characteristics to the lending of printed works,

since, first, the limitation of simultaneous downloads to a single copy implies that the lending

capacity of the library concerned does not exceed that which it would have as regards a printed

work and, secondly, that lending is made for only a limited period.” Gratz Opp’n Decl. Ex. 7 ¶

53.

        The CJEU’s ruling implicitly embraced the opinion of its Advocate General. Opinion of

Advocate General Szpunar, VOB, C-174/15 (June 16, 2016), https://eur-lex.europa.eu/legal-

content/en/TXT/?uri=CELEX:62015CC0174, Gratz Opp’n Decl. Ex. 8 (“Advocate General

Op.”). In the CJEU, the Advocate General is a member of the court, appointed under the same

procedure as judges, who “represents neither of the parties, but instead provides an independent

opinion to the court,” Kruger v. Virgin Atl. Airways, Ltd., 976 F. Supp. 2d 290, 300 n.2

(E.D.N.Y. 2013). Here, the Advocate General found that CDL was consistent with the EU’s

implementation of the three-step test, adopting arguments similar to those made by Internet

Archive in this matter, and rejecting many arguments similar to those made by Plaintiff in this

matter. Advocate General Op. ¶¶ 66–75

        With respect to the first step, “the condition that the exception must relate to special

cases,” the Advocate General found that a rule permitting digital lending met that requirement

because (1) it was limited to “lending, or in other words, the making available of works for a

limited period of time”; and (2) it was limited to “establishments (libraries) open to the public

which derive no profit from their lending activities.” Advocate General Op. ¶ 67a. Further, the




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rule permitting CDL “pursues a legitimate aim in the public interest which is, in the broadest

terms, universal access to culture.” Id.

       With respect to the second step, the Advocate General found that there was “no conflict

with a normal exploitation of the work.” Id. ¶ 68; see also id. 73. There, as here, publishers had

argued that digital lending “too easily substitutes for the purchase of books on the market”

because “there is no need for the user physically to go to a library” and thus made digital

lending, from the perspective of the reader, “comparable to purchasing over the internet.” Id. ¶

68. The publishers had also argued that “electronic books which are borrowed from libraries do

not deteriorate with use and are thus identical in one respect to purchased books, that it to say,

they are always ‘new.’” Id. The Advocate General rejected these arguments, holding that the

restrictions inherent in CDL meant that they did not substitute for purchases of books, because

“digital lending is limited in time and thus merely enables a user to acquaint himself with the

content of a book, without keeping a copy of it,” and “the opportunities for such lending are

limited by the number of copies (digital copies) at a library’s disposal and so users are not certain

of being able to borrow a given electronic book when they want to.” Id. ¶ 69. The Advocate

General also observed that “several studies show that the lending of books, either traditional or

electronic, does not reduce the volume of book sales but may instead increase it by encouraging

reading habits.” Id.

       The publishers also argued there, as here, that CDL would harm commercial ebook

lending services. Id. ¶ 70. The Advocate General found that “[t]he mere fact that certain

electronic book sellers have developed business models similar to digital renting cannot by itself

constitute an obstacle to” permitting nonprofit libraries to practice CDL. Id. Because CDL

“pursues a legitimate objective in the public interest,” he found, it could not be restricted on the




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basis of publishers’ decision to offer a for-profit service with facially similar functionality. Id.

“Otherwise,” he found, “any lending activity could be displaced by commercial renting, of either

tangible or intangible goods,” and thus all nonprofit lending—even traditional physical lending

of books by libraries—might be disallowed because of a possibility it could compete with

commercial renting. Id.

        The Advocate General concluded by observing that implementations of CDL could

ensure that digital lending “really is the functional equivalent of traditional lending and that it

does not conflict with the normal exploitation of copyright” by adopting “the ‘one copy one user’

model” and making use of “technological protection measures.” Id. ¶ 73. He observed that

digital lending would not interfere with the legitimate interests of authors. Id. ¶ 74.

Accordingly, the Advocate General concluded, CDL was consistent with the three-step test. Id. ¶

75.

        Thus, far from weighing in Publishers’ favor here, an examination of the treatment of

CDL by other countries shows that the CJEU and its Advocate General have considered and

rejected the arguments advanced by Plaintiffs against CDL, and have expressly found it

consistent with copyright treaties.

IV.     CONCLUSION

        Copyright does not stand in the way of a library’s right to do what libraries have always

done: lend a book it owns to one patron at a time. Plaintiffs’ motion for summary judgment

should be denied.




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Dated: September 2, 2022        DURIE TANGRI LLP


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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the following statements are true:

       This brief complies with the formatting rules of the Individual Practices of Judge John G.

Koeltl Section II.D and the Court’s Order regarding word count (ECF No. 80). It has been

prepared using a proportionally spaced typeface using Microsoft Word 365 Version 2108 in

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                                                                   /s/ Joseph C. Gratz
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 2, 2022 the within document was filed with the Clerk

of the Court using CM/ECF which will send notification of such filing to the attorneys of record

in this case.

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